             Case 2:22-cv-02107-SMB Document 14 Filed 12/16/22 Page 1 of 3




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10   Attorneys for the United States (additional counsel on signature page)

11
                        IN THE UNITED STATES DISTRICT COURT
12
13                            FOR THE DISTRICT OF ARIZONA

14
                                                      )
15   United States of America,                        )
16                                                    )   No. CV-22-02107-PHX-SMB
                         Plaintiff,                   )
17         v.                                         )   NOTICE OF SERVICE OF THE
18                                                    )   COURT’S DECEMBER 15, 2022
     Douglas A. Ducey, in his official capacity as    )   “ORDER,” ECF NO. 6
19   Governor of the State of Arizona; the State      )
     of Arizona; the Arizona Department of            )
20   Emergency and Military Affairs; Kerry L.         )
21   Muehlenbeck, in her official capacity as         )
     Adjutant General, Arizona Department of          )
22   Emergency and Military Affairs; and Allen        )
23   Clark, in his official capacity as Director of   )
     the Arizona Division of Emergency                )
24   Management, Arizona Department of                )
     Emergency and Military Affairs,                  )
25                                                    )
26                       Defendants.                  )

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1          In accordance with the Court’s December 15, 2022 “Order,” ECF No. 6, Plaintiff United
2    States hereby notifies the Court that it promptly served copies of the Order on Defendants. The
3    United States emailed copies of the Order to Defendants or their known counsel or
4    representatives on December 15, 2022. The United States also sent copies of the Order by
5    Federal Express overnight express courier service for delivery on December 16, 2022 to the
6    following:
7
           Mark Brnovich
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           Attorney General of the State of Arizona
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           Douglas A. Ducey
12         Governor of the State of Arizona
           Office of the Governor
13
           1700 W. Washington Street
14         Phoenix, AZ 85007
15         Major General Kerry L. Muehlenbeck
16         Adjutant General, Arizona Department of Emergency and Military Affairs
           5636 E. McDowell Road
17         Phoenix, AZ 85008
18
           Allen Clark
19         Director, Arizona Division of Emergency Management
           Arizona Department of Emergency and Military Affairs
20         5636 E. McDowell Road
21         Phoenix, AZ 85008

22
     Respectfully submitted this 16th day of December, 2022,
23
24
                                              GARY M. RESTAINO
25                                            United States Attorney
26                                            District of Arizona

27
28   THE UNITED STATES’ NOTICE OF SERVICE                                                     1
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24
25
26
27
28   THE UNITED STATES’ NOTICE OF SERVICE                                          2
